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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

      SECURITIES AND EXCHANGE
      COMMISSION,
                                                                  21 Civ. 5350 (PKC)
                                Plaintiff,

                   -against-

      RICHARD XIA, a/k/a YI XIA; and
      FLEET NEW YORK METROPOLITAN
      REGIONAL CENTER, LLC, f/k/a FEDERAL
      NEW YORK METROPOLITAN REGIONAL
                                                                    NOTICE OF MOTION
      CENTER, LLC;

                                Defendants,

                   -and-

      JULIA YUE, a/k/a JIQING YUE, XI VERFENSTEIN,
      and XINMING YU,

                                Relief Defendants.


           PLEASE TAKE NOTICE that upon the accompanying Declaration of M. Scott Peeler

  and all accompanying exhibits attached thereto, that the Court-appointed Monitor will move this

  Court, before the Honorable Pamela K. Chen, United States District Judge for the Eastern District

  of New York, at the United States Courthouse located at 225 Cadman Plaza East, Brooklyn, NY

  11201, on a date and time to be determined by the Court, for an Order seeking the Court’s

  authorization and the release of certain funds from frozen accounts of Defendants or the Xia

  Entities solely to pay for: (a) the renewal of the Commercial General Liability Policy for the

  construction project located at 42-23 Union Street, Queens, New York 11355 (“Eastern Mirage”) 1




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   The Mirage Property is also known as 42-31 Union Street, Queens, New York 11355, but the NYC Finance
  Department property tax records identify the address as 42-23 Union Street.

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  in the amount of One Million Dollars ($1,000,000) each Occurrence, Two Million Dollars

  ($2,000,000) general aggregate limit, issued by Peleus Insurance Company for an insurance

  premium of $84,457.31 to Atlantic Coast Risk Services for one year of coverage; (b) the renewal

  of the Excess Liability Policy for the Eastern Mirage construction project in the amount of Five

  Million Dollars ($5,000,000) each Occurrence and Five Million Dollars ($5,000,000) annual

  aggregate limit issued by StarStone National Insurance Company for an insurance premium of

  $40,717.50 to Atlantic Coast Risk Services for one year of coverage; (c) the renewal of the

  Commercial General Liability Policy the construction project located at 112-21 Northern

  Boulevard, Queens, New York 11368 (“Eastern Emerald”) in the amount of One Million Dollars

  ($1,000,000) each Occurrence, Two Million Dollars ($2,000,000) general aggregate limit, issued

  by Peleus Insurance Company for an insurance premium of $34,884.38 to Atlantic Coast Risk

  Services for one year of coverage; (d) the renewal of the Excess Liability Policy for the Eastern

  Emerald construction project in the amount of Five Million Dollars ($5,000,000) each Occurrence

  and Five Million Dollars ($5,000,000) annual aggregate limit issued by StarStone National

  Insurance Company for an insurance premium of $6,919.00 to Atlantic Coast Risk Services for

  one year of coverage.

         Both the SEC and the Defendants are aware of the request for authorization to release

  certain funds to renew the insurance policies at Eastern Emerald and Eastern Mirage. The SEC

  consents to the request for authorization to release certain funds to renew the insurance policies at

  Eastern Emerald and Eastern Mirage. For the reasons set forth in the Monitor’s Declaration, Mr.

  Xia does not consent; however, the Monitor’s believes Mr. Xia’s concerns are untimely and

  unfounded. The Monitor believes it is in the interests of the investors to keep the Projects insured




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  against third-party personal injury and property damage, and his team can address additional

  insurance requirements when/if construction at the Projects is ready to recommence.


  Dated: June 11, 2024                               Respectfully submitted,

                                                     ARENTFOX SCHIFF LLP



                                                     By: s/M. Scott Peeler
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                                                        Court Appointed Monitor




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